Case 3:04-cr-30029-DRH      Document 369 Filed 04/04/08       Page 1 of 1   Page ID
                                     #1216


                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,

      Plaintiff,

v.

NICOLE M. BOWLINE, et al.,

      Defendants.                                     Case No. 04-CR-30029-DRH

                                      ORDER


HERNDON, Chief Judge:

             Now before the court is a Motion to Continue Sentencing Hearing filed

by defendant Nicole Bowline (Doc. 368). Defendant seeks to continue her sentencing

until after the trial of codefendant Adams, so that her assistance in his prosecution

can be accurately assessed for sentencing purposes. Therefore, the Court GRANTS

defendant Bowline’s Motion (Doc. 368) and CONTINUES the sentencing hearing

scheduled for April 14, 2008 to September 5, 2008 at 10:30 a.m.

             IT IS SO ORDERED.

             Signed this 4th day of April, 2008.



                                             /s/     DavidRHerndon
                                             Chief Judge
                                             United States District Court
